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                                                                                                  YAAKOV SAKS▪*
                                                                                                    JUDAH STEIN▪
                                                                                                 ELIYAHU BABAD▪
                                                                                               MARK ROZENBERG ▪
                                                                                               KENNETH WILLARD▪

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       October 31, 2022

       Via CM/ECF
       Hon. Pamela K. Chen
       U.S. Courthouse, Eastern Dist. N.Y.
               RE:     Dawkins v. Schott NYC Corp.
                       Case No.: 1:22-cv-03617-PKC-TAM



       Dear Judge Chen,

              We represent the plaintiff in the above matter, and write with the consent of counsel for
       defendant Schott NYC Corp. to respectfully request that the briefing schedule entered on September
       14, 2022, for Defendant’s Motion to Dismiss be extended by 30 days.

               Per the schedule, Defendant served his motion on October 25, 2022. We ask that Plaintiff’s
       opposition due date be extended from November 15 to December 15, 2022, and that Defendant’s
       reply also be extended from November 23 to December 23.

               This is the first such request in this matter.

               We thank Your Honor and the Court for its kind considerations and courtesies.


                                                                       Respectfully submitted,

                                                                       s/ Mark Rozenberg
                                                                       Mark Rozenberg, Esq.

       cc:    All Counsel of Record via ECF
